Case 2:10-md-02179-CJB-DPC Document 7114-6 Filed 08/13/12 Page 1 of 3




                         Exhibit 5
 Case 2:10-md-02179-CJB-DPC Document 7114-6 Filed 08/13/12 Page 2 of 3
                                                                         1

 1                UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF LOUISIANA
 2
 3     IN RE:    OIL SPILL           )     MDL NO. 2179
       by the OIL RIG,               )
 4     DEEPWATER HORIZON in          )     SECTION "J"
       the GULF OF MEXICO,           )
 5     April 20, 2010                )     JUDGE BARBIER
                                     )
 6                                   )     MAG.    JUDGE
                                     )     SHUSHAN
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22                     Videotaped deposition of WILLIAM
       GALE, PH.D., P.E., CSP, taken at Pan-American
23     Building, 601 Poydras Street, 11th Floor, New
       Orleans, Louisiana, 70130, on the 16th of
24     November, 2011.
25



                PURSUANT TO CONFIDENTIALITY ORDER
 Case 2:10-md-02179-CJB-DPC Document 7114-6 Filed 08/13/12 Page 3 of 3
                                                                         243

 1                     Let's go back to my question,
 2     which is --
 3             A.      Okay.
 4             Q.      -- the fact that BP chose to do
 5     a -- a process safety, safety critical task
 6     that it was not required to do is some
 7     indication that BP cared about safety, isn't
 8     it?
 9             A.      Well, I'll agree it shows a
10     degree of concern that they needed to stop
11     and do that test to demonstrate integrity.
12             Q.      Right.    It's -- it's a good
13     thing from a process safety standpoint.            And
14     we know, they -- they -- they misinterpreted.
15     I think everybody's gotten to that point.
16     But the fact that -- from a process safety
17     standpoint, the -- the fact that BP chose and
18     wanted to do this process safety, safety
19     critical task, is a good thing from a process
20     safety standpoint, isn't it?
21             A.      I'll agree.      It's certainly good
22     to do that negative test, yes.
23             Q.      Right.    And it is evidence of
24     some degree of due care on the part of BP
25     that they wanted to do the safety critical


                PURSUANT TO CONFIDENTIALITY ORDER
